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                                     United States District Court
                                    Southern District of New York
Virginia L. Giuffre,

Plaintiff,                                        Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

Defendant.

____________________________/

      DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF PLAINTIFF’S
     REPLY TO MOTION TO EXCEED PRESUMPTIVE TEN DEPOSITION LIMIT

             I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

        1.         I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

        2.         I respectfully submit this Declaration in Support of Plaintiff’s Reply to Motion to

Exceed Presumptive Ten Deposition Limit.

        3.         Attached hereto as Exhibit 1 is a true and correct copy of Johanna Sjoberg’s

Deposition Transcript excerpts dated May 18, 2016.

        4.         Attached hereto as Exhibit 2 is a true and correct copy of Rinaldo Rizzo’s Rough

Deposition Transcript excerpts dated June 10, 2016.

        5.         Attached hereto as Exhibit 3 is a true and correct copy of Juan Alessi’s

Deposition Transcript excerpts dated June 1, 2016.

             I declare under penalty of perjury that the foregoing is true and correct.

                                                  /s/ Sigrid S. McCawley
                                                  Sigrid S. McCawley, Esq.
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                                                                                                         


Dated: June 13, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid McCawley
                                                 Sigrid McCawley (Pro Hac Vice)
                                                 Meredith Schultz (Pro Hac Vice)
                                                 Boies Schiller & Flexner LLP
                                                 401 E. Las Olas Blvd., Suite 1200
                                                 Ft. Lauderdale, FL 33301
                                                 (954) 356-0011

                                                 David Boies
                                                 Boies Schiller & Flexner LLP
                                                 333 Main Street
                                                 Armonk, NY 10504

                                                 Bradley J. Edwards (Pro Hac Vice)
                                                 FARMER, JAFFE, WEISSING,
                                                 EDWARDS, FISTOS & LEHRMAN, P.L.
                                                 425 North Andrews Avenue, Suite 2
                                                 Fort Lauderdale, Florida 33301
                                                  (954) 524-2820

                                                 Paul G. Cassell (Pro Hac Vice)
                                                 S.J. Quinney College of Law
                                                 University of Utah
                                                 383 University St.
                                                 Salt Lake City, UT 84112
                                                 (801) 585-52021




1
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 13th day of June, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com



                                                    /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley




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